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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 BRAIDWOOD MANAGEMENT INC. et                     §
 al.,                                             §
                                                  §
          Plaintiffs,                             §
                                                  §       Civil Action No. 4:20-cv-00283-O
 v.                                               §
                                                  §
 XAVIER BECERRA et al.,                           §
                                                  §
          Defendants.

                  SCHEDULING ORDER ON SUPPLEMENTAL BRIEFING

         Before the Court is the parties’ Joint Status Report (ECF No. 95), filed September 16, 2022,

which responds to the Court’s Memorandum Opinion & Order (ECF No. 92), issued September 7,

2022, requesting a proposed supplemental briefing schedule. The parties indicate that three issues

remain to be decided by the Court: (1) the standing of Plaintiffs other than Braidwood; (2) the

claims relating to the contraceptive coverage requirement; and (3) the scope of remedy (ECF No.

95, at 1). Noting the agreement of the parties, the Court ORDERS the following briefing schedule

with respect to these remaining issues:

      1) Deadline for plaintiffs to file their supplemental motion for summary judgment: October

         24, 2022.

      2) Deadline for defendants to file combined response to plaintiffs’ supplemental motion for

         summary judgment and defendants’ supplemental cross-motion for summary judgment: 30

         days after plaintiff files supplemental motion for summary judgment.

      3) Deadline for plaintiffs to file combined response to defendants’ supplemental motion for

         summary judgment and reply brief in support of plaintiffs’ supplemental motion for

         summary judgment: 30 days after defendants file cross-motion for summary judgment.
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4) Deadline for defendants to file reply brief in support of defendants’ supplemental motion

   for summary judgment: 21 days after plaintiffs file combined response to defendants’

   supplemental motion for summary judgment and reply brief in support of plaintiffs’

   supplemental motion for summary judgment.

SO ORDERED on this 28th day of September, 2022.


                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE




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